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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ELSEY2017 OK 70Case Number: SCBD-6553Decided: 09/18/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 70, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 





STATE ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,v.JACKIE DALE ELSEY, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Plea, in which Jackie Dale Elsey entered the following pleas for offenses committed on August 26, 2015: 1) nolo contendere to a felony count of Driving a Motor Vehicle While Under the Influence of Alcohol, in violation of Okla. Stat. Tit. 47, § 11-902(A)(1); and 2) nolo contendere to a misdemeanor count of Driving with License Cancelled/Suspended/Revoked, in violation Okla. Stat. Tit. 47, § 6-303(B). The OBA also forwarded a certified copy of the Deferment Judgment and Sentence, entered on August 17, 2017, of 5 years on both counts deferred until August 17, 2022.
Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Jackie Dale Elsey is immediately suspended from the practice of law. Jackie Dale Elsey is directed to show cause, if any, no later than September 29, 2017, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until October 10, 2017, to respond.
Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Jackie Dale Elsey has until October 26, 2017, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until November 13, 2017, to respond.
DONE BY ORDER OF THE SUPREME COURT on September 18, 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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